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_ Commonwealth of Massachusetts

SUFFOLK, SS, TRIAL COURT OF THE COMMONWEALTH
SUPERIOR COURT DEPARTMENT
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Mavaavet Dyiscoll_, PLAaIntiFr(s},

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Sims boil As sociertes | AOEFENDANTIS|

SUMMONS

THIS SUMMONS [5 DIRECTED TO Sims hur Ci Ly . (Defendant's name}

You are being sued. The Plalintiff{s} named above has started a lawsuit against you. A copy of the
Plaintiff's Complaint filed against you js attached to this summons and the original complaint has been

filed in the 2 y sein: 3 “yeteCourt. YOU MUST ACT PROMPTLY TO PROTECT YOUR RIGHTS.

You must respond to this lawsuit in writing within 20 days. If you do not respond, the court may decide
the case against you and award the Plaintiff everything asked for in the complaint. You will alsa lose’the
epportunity to tell your side of the story. You must respand to this lawsult in writing even if you expect
to resolve this matter with the Plaintiff. If you need more time to fespond, you may request an
extension of time in writing from the Court.

How ta Respond. To respond to this lawsuit,-you must file a written response with the court and mail a
copy to the Plaintiff's Attorney (or the Plaintiff, if unrepresented), You can do this by: ' _

Filing your signed original response with the Clerk's Office for Civil Business, decra k >°* Shear

FAO ston (adefress), by mail orin person, AND
Delivering or mailing a copy : your one to the Plaintiff's Attorney/Platntiff at the following
address: 19 Center sk wnt A Som meriille MA arllis
What to include in your response. An “Answer” fs one type of response to a Complaint. Your Answer |
must state whether you agree or disagree with the fact(s) alleged In each paragraph of the Complaint.
Some defenses, called affirmative defenses, must be stated in your Answer or you may lose your right to
use them fn court, If you have any claims against the Plaintiff (referred to as counterclatms) that are
based ory the same facts or transaction described in the Complaint, then you must Include those claims
in your Answer. Othenvise, you may lose your right to sue the Plaintiff about anything related to this
lawsuit. If you want to have your case heard by a jury, you must specifically request a jury trial in your
Answer or In a written demand for a jury trial that you must send to the other side and file with the
court no more than 10 days after sending your Answer. You can also respond to a Complaint by filing a
"Motion to Dismiss,” if you belleve that the complaint js Jegally invalid or legally Insufficient. A Motion
to Dismiss must be based on one of the legal deficiencies or reasons listed under Mass. R. Civ. P. 12. If
you are filing a Motion to Dismiss, you must also comply with the filing procedures for “Civil Motions”
described in the rules of the Court in which the complaint was filed, available at
www.mass. gov, courts/case-lagal-res/rules of court.

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Legal Assistance. You may wish to get legal help from a lawyer. if you cannot get legai help, sume basic
information for people who represent themseives is available at www.mass.gov/co urts/selfhelp.
Required information on all filings: The “civil docket number” appearing at the top of this natice is the
case number assighed,to this case and must appear on the front of your Answer of Motion to Dismiss.
You shou Id refer to yourselfas the “Defendant.”

Witness Hon, Judith Fabricant, Chief Justice on _, 20

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Clerk-Magistrate

Note: The qumber assigned to the Complaint by the Cleri-Magistrate at the beginning of the lawsuit should be indicated on the
summans before It is served on the Defendant.

PROOF OF SERVICE OF PROCESS

 

| heraby certify that on. 20____, | served a copy of this summons,
together with a copy of the complaint in this action, on the defendant named in this summoans, in the -
following manner (See Mass. R. Civ. P. 4 (d){1-5)):

 

 

 

Dated: : 20 Signature: 7

N.B. TQ PROCESS SERVER!

PLEASE ENTER THE DATE THAT YOU MADE SERVICE ON THE DEFENDANT IN THIS BOX ~ 830TH
ON THE ORIGINAL SUMMONS AND ON THE COPY OF THE SUIMIMIONS SERVED ON THE DEFENDANT.

 

 

 

 

 

 
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COMMONWEALTH OF MASSACHUSETTS

SUFFOLK, ss Suffolk Superior Court

Docket No, 14-200 p; |
RECEIVED

 

Margaret Driscoll,

   
  

   
  

Plaintiff,
v, AUG 24 2017
| i LONI,
Simsbury Associates, Inc., SEEN o ONOVAN
Defendant, ROA KHAGTRATE

    

 

COMPLAINT

1, The Plaintiff is Margaret Driscoll of Everett Massachusetts,

 

2. The Defendant is Simsbury Associates, Inc., which does business in Boston under the

name LANDMARK Senior Living Communities, bo

3. The Defendant provides living accommodations for the elderly including those
persons who are il! The Plaintiff was employed by Defendant as Executive Director at
Defendant's Longwood facility until on or about November 22, 2016. On that day she

received a letter from Defendant that she was terminated,

4. When she first became employed by the Defendant, the Plaintiff observed certain
persons working for or in and around the Defendant who were unsavory and were
suspected by Plaintiff and other staff members of being members of pemicious gangs,

She also observed signs of decadence in and around the Defendant such as, without

 

 

 
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limitation thereof detritus, unopened bottles and open bottles of alcoholic beverages

and the sale and purchase of drugs.

5. The Plaintiff also observed that certain female employees of the Defendant were

aligned with persons who were members of the aforementioned gangs.

6. The Plaintiff reacted to the aforementioned problems with disgust because, amongst
other things, the Defendant was advertised as a very high class, clean and respectable
home for the aged and derived its reputation as being close to the New England Baptist
Hospital. In the Defendant's advertising and website the Defendant appeared afid was
portrayed as a very supportive facility that would assist the aged in a safe, clean and

proper atmosphere to make the transition to old age with dignity and care.

 

7, A person named Stacy Crerar, Vice President of Operations, was the Plaintiff's

supervisor,

§. In order to address the problems that the Plaintiff found, amongst other things, she

 

called in for assistance to the Boston Police Department, fired the aberrant employees
who had connections to the aforementioned gangs and took steps to “cleanup” the

negative situations she found,

 

9. The Plaintiff was very successful in her efforts and received accolades from persons in |

 

 

authority, Amongst other things the Plaintiff received a bonus of $10,000 from a

 
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corporate officer whose name is Matthew Boyle ,This bonus was for her exemplary

work,

During her tenure at Landmark, she received glowing and positive reviews of her
work, her work ethic and ability to maintain administrative order in a very complex

environment,

The persons who were under her command as well as those to whom she reported
were firmly consistent in their steady accolades for her meritorious service in which |
she placed the demands and requirements of Landmark before her own needs, In short,
she was selfless in her performance of her duties and responsibilities, Those, to
whom she gave orders, uniformly complemented her on her sense of duty, her
comprehension of human nature and the steady, kind approach she used even when

dealing with problems created by subordinates,

. This very positive relationship between Landmark and Margaret Driscoll came to a

halt when Landmark discovered that she had sided with a fellow employee, Gailanne

Cummings who made a complaint of employment discrimination and retaliation to the

MCAD, One or more persons said to her the following in these exact words: "You are

going to be held accountable because of Gailanne Cuimings",

From that moment on our client was constantly barraged with disparaging remarks and

 

 

 
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innuendoes, and even threats of physical abuse. Senior persons at Landmark would
scream at her, yell at her, and broadcast slanderous remarks and lies about her to her

fellow employees,

Plaintiff was very affected by the clamor, unfairness and lack of dignity pushed upon
her, She became so nervous, so upset that she went to physicians at Massachusetts

General Hospital who documented the negative effect of the stressors that Landmark

inflicted upon her, including without limitation thereof, Post-Traumatic Stress,

-

Before the November 22 letter of termination from Landmark to her, she had been
told, over 100 times, to put into her records for billing purposes to Medicare and state
reimbursement authorities, that she and her employees had provided FULL CARE
in cases where there had only been provided 30 minutes of care. This materially

violates federal and state law and gives rise to Qui Tam claims,

The Plaintiff lost vacation time resulting from the stressors that Landmark put upon
her, and violations of the FMLA law relating to personal time off but was not allowed

credit for that,

‘The constant stressors, threats and other activities of Landmark caused Plaintiff to

require medical intervention and take paid medical leave,

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18, Plaintiff reported to persons in authority, including Suzanne Kevinge the IT person in
charge that the traumatic episodes caused by Deferidant caused Plaintiff illness.
Margaret was therefore entitled to time off because of the Employer- caused disability,

without charging it to her accumulated vacation same,

COUNT 1 ~ INTENTIONAL AND/OR NEGLEGENT INFLICTION OF
EMOTIONAL DISTRESS

[9, The Plaintiff restates and re-Avers the preceding paragraphs and averments as though

a

set forth herein in haec verba.
20. The Defendant's activities caused the Plaintiff serious personal injuries.

21. The Defendant’s activities which caused her injuries were either intentional or

negligent and were the direct and proximate cause of her injuries.

COUNT 2~ QUE TAM DUE TO VIOLATIONS OF FEDERAL AND STATE

LAW

22, The Plaintiff restates and re-Avers the preceding paragraphs and averments as though

set forth herein in haec verba,

23. The actions of the Defendant and its affiliates and key employees violated both

 
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Federal and State law relating to Medicaid and Medicare reimbursement, and other
direct and indirect financial benefits to the Defendant, its affiliates and key employees.
Plaintiff advised the Defendant’s management to correct the illegal! situation, but

Defendant did not end the practice which is still ongoing.

Because of that, the Defendant, said affiliates and key employees have been unjustly

enriched at the expense of taxpayers,

 

WHEREFORE, the Plaintiff hereby makes a Qui Tam claim and demand for recovery
for all overcharges made at any time by or through the Defendant, such affiliates and
xey employees, and demands that the same, together with costs of suit including
reasonable attorney's fees, be paid to the Plaintiff or to the Commonwealth Of

Massachusetts or to the United States treasury, as their interests may appear.
COUNT 3 - BREACH OF CONTRACT

The Plaintiff restates and re-Avers the preceding paragraphs and averments as though

set forth herein in haec verba. .

The actions and activities of the Defendant that were focused against the Plaintiff by
the Defendant constituted a breach of the employment contract and contractual |

arrangement between the Plaintiff and the Defendant.
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28,

WHEREFORE, the Plaintiff demands judgment against the Defendant for all damages

to her arising from the Breach of Contract by the Defendant.

COUNT 4 - FRAUD CLAIMS

. The Plaintiff restates and re-Avers the preceding paragraphs and averments as though

set forth herein in haec verba.

The Defendant’s actions were fraudulent as against the Plaintiff for many reasons,
including without limitation thereof, the failure to inform the Plaintiff of the true
nature of the business operated by the Defendant including the understaffing of
employees and the over staffing of patients, which caused a severe deterioration of the
quality of care given by the Defendant and the misrepresentations in its advertising
and public face which claimed a higher than given quelity of care and which Plaintiff

relied on to her detriment,

. The Defendant’s said actions caused such aggravation and stress to the Plaintiff that

she suffered severe physical and emotional medical problems and disability

WHEREFORE the Plaintiff demands compensation for all damages suffered by her on

account of said fraudulent activity of the Defendant.

COUNT 5 - WAGE AND HOURS CLAIMS

 

 

 
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30. The Plaintiff restates and re-Avers the preceding paragraphs and averments as though

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set forth herein In haec verba.

: During the course of her work at the Defendant, the plaintiff was denied monies-for

work performed, time cr accumulated sick leave time, and was unlawfully denied the
vacation pay accrued, sickness benefits promised, and guarantees under the

Massachusetts Wage and Hours laws,

WHEREFORE Plaintiff demands that all monies to which she was so entitled be

computed and tallied and paid to her forthwith.

COUNT 6 -93A CLAIMS

The Plaintiff restates and re-Avers the preceding paragraphs and averments as though

set forth herein in haec verba,

‘The Piaintiff sent to the Defendant written claims for damages caused by the egregious
misconduct of the Defendant, its employees and representatives, and demanded that
the Defendant pay to the Plaintiff damages, costs and expenses incurred by her in
connection with the claims set forth in this Complaint, and further demanded that the

Defend&nt cease and desist from further violations of state and federal law described jn

 

 
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this Complaint,

34, The Defendant in spite of its egregious conduct towards the Plaintiff has steadfastly
refused to pay her monies or otherwise alleviate her distress and damages caused by

Defendant's conduct,

35. Defendant’s conduct toward the Plaintiff constitutes violations of M. G. L. A.c93A

WHEREFORE, the Plaintiff demands that upon judgment and assessment of her

damages, that the Defendant pay up to three times her damages plus costs of suit
including, without limitation thereof attorneys’ fees, filing fees, all discovery costs, costs
of depositions, interviewing and hiring of expert witnesses, preparation and filing of
discovery requests concerning expert witnesses, making of motions and preparing
oppositions, if any, to the Defendant's Motions; and all further and other costs and
expenses associated with this lawsuit.

TRIAL BY JURY
PLAINTIFF DEMANDS TRIAL BY JURY

Respectfully Submitted
Margaret Driscoll

By her attorney
Law Offices of Dean C. Brunel
(BBO #: 061800)
75 Central St. Unit J

Somerville, MA 02143
T & F; 617-628-6729

deanbrunel@gmail.com

 

 

 
